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                                                                              Ex. 1 at 1
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                                                                              Ex. 1 at 2
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have yielded evidence concerning federal firearms, narcotics, and racketeering

offenses.

      2.     This affidavit is made in support of an application for a search warrant

for information associated with certain cellular telephone assigned call numbers: (1)

information associated with the cellular telephone assigned call number (773)       -

2969, bearing IMEI number 352164234252102, that is stored at premises controlled

by AT&T, a wireless telephone service provider headquartered at 208 South Akard

Street, Dallas, Texas (“Subject Phone 1”); (2) information associated with the

cellular telephone assigned call number (773)      -6584, that is stored at premises

controlled by T-Mobile, a wireless telephone service provider headquartered at 12920

SE 38th Street Bellevue, Washington 98006 (“Subject Phone 3”); (3) information

associated with the cellular telephone assigned call number (872)      -0673, that is

stored at premises controlled by T-Mobile (“Subject Phone 4”); and (4) information

associated with the cellular telephone assigned call number (219)      -4696, that is

stored at premises controlled by T-Mobile (“Subject Phone 5”) (collectively, the

“Subject Phones”). The information to be searched is described in the following

paragraphs and in Attachment A. This affidavit is made in support of an application

for a search warrant under 18 U.S.C. § 2703(c)(1)(A) to require AT&T and T-Mobile

(collectively, the “Service Providers”) to disclose to the government copies of the

information further described in Section I of Attachment B. Upon receipt of the




                                         2

                                                                            Ex. 1 at 3
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information described in Section I of Attachment B, government-authorized persons

will review the information to locate items described in Section II of Attachment B.

      3.      As set forth more fully below, the FBI is investigating allegations that

ANTHONY MONTGOMERY, also known as “Anthony Montgomery-Wilson”

(“MONTGOMERY”) and PRESTON POWELL (“POWELL”) used facilities of

interstate commerce with the intent that a murder-for-hire be committed, in violation

of Title 18, United States Code, Sections 1958 and 2; that MONTGOMERY,

POWELL, and others conspired to use facilities of interstate commerce with the

intent that a murder-for-hire be committed, in violation of Title 18, United States

Code, Section 1958; and that MONTGOMERY possessed a firearm as a convicted

felon, in violation of Title 18, United States Code, Section 922(g)(1) (the “Subject

Offenses”).

      4.      Specifically, the FBI is investigating allegations that MONTGOMERY

and POWELL murdered Stephon Mack (“Mack”) on January 27, 2022, in violation of

the laws of the State of Illinois, as consideration for the receipt of something of

pecuniary value. Mack was shot and killed by two assailants while leaving the Youth

Peace Center of Roseland (“YPC”). The two assailants exited from a parked, stolen

car and began firing at Mack as Mack walked across the parking lot. As the two

assailants were driving into the parking lot, POWELL, using Subject Phone 3,

exchanged several phone calls with the user of Subject Phone 4. Law enforcement

believes that Subject Phone 4 is typically used by Co-Conspirator A, but, for the


                                          3

                                                                             Ex. 1 at 4
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reasons set forth below, may have been used by Co-Conspirator B (Co-Conspirator

A’s brother) at the time of the exchange of calls between Subject Phone 3 and

Subject Phone 4. The two assailants abandoned the stolen car at the scene in the

parking lot after having murdered Mack. Through law enforcement’s investigation,

summarized below, I believe that POWELL and MONTGOMERY were the two

assailants. After the murder, MONTGOMERY left his cell phone, Subject Phone 1,

inside of the stolen vehicle that MONTGOMERY and POWELL used to commit the

murder. POWELL called MONTGOMERY three times on Subject Phone 1 from

Subject Phone 3 minutes after the shooting, as POWELL and MONTGOMERY had

split up on foot in different directions and POWELL was likely unaware that

MONTGOMERY had left Subject Phone 1 inside of the vehicle used to commit the

murder. Thirty-four minutes after Mack was murdered, MONTGOMERY’s

girlfriend, the listed subscriber for Subject Phone 1, called AT&T to report

Subject Phone 1 as stolen. Approximately three minutes before contacting

AT&T to report Subject Phone 1 as stolen, MONTGOMERY’S girlfriend was

contacted by Subject Phone 5.

      5.    Five days after MONTGOMERY abandoned Subject Phone 1 in the

stolen car, he obtained a new cell phone, Subject Phone 2. As set forth below,

MONTGOMERY used Subject Phone 2 to communicate with POWELL, using what I

believe is coded language to discuss when MONTGOMERY was going to receive the




                                       4

                                                                         Ex. 1 at 5
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payment for having murdered Mack. In February 2022, law enforcement seized

Subject Phone 2 from MONTGOMERY incident to his arrest in an unrelated case.1

       6.     For the reasons set forth in further detail below, there is probable cause

to believe that the location of Subject Phone 1, Subject Phone 3, and Subject

Phone 4 at the time of the murder and in the hours leading up to the murder will

lead to evidence of the Subject Offenses, and that the location of Subject Phone 5

in the period of time after the murder will lead to evidence of the Subject Offenses.

       7.     The statements in this affidavit are based on my personal knowledge,

and on information I have received from other law enforcement personnel and from

persons with knowledge regarding relevant facts. Because this affidavit is being

submitted for the limited purpose of securing a search warrant, I have not included

each and every fact known to me concerning this investigation. I have set forth facts

that I believe are sufficient to establish probable cause to search the information

described in Attachment A and seize the information identified in Attachment B for

evidence of the Subject Offenses.




1 On March 24, 2023, the U.S. District Court for the Northern District of Illinois, Hon. Jeffrey

I. Cummings, issued a search warrant to search Subject Phone 1 and Subject Phone 2 for
evidence of the Subject Offenses in case numbers 23 M 315 and 23 M 316.
                                               5

                                                                                     Ex. 1 at 6
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II.     FACTS SUPPORTING PROBABLE CAUSE TO SEARCH THE
        INFORMATION IDENTIFIED IN ATTACHMENT A

        A.    Background on the Smashville Gangster Disciples and the Mike
              City Black Disciples

        8.    As part of its investigation into the general background and geographic

territories occupied by certain factions of the Gangster Disciples and the Black

Disciples identified below, the FBI has spoken with Chicago Police Department

(“CPD”) gang officers who are familiar with the Gangster Disciples and the Black

Disciples, multiple members of the Smashville Gangster Disciples, and multiple FBI

Confidential Human Sources with knowledge of gang activity on the South Side of

Chicago.

        9.    Based on my training and experience and through conversations with

CPD gang officers who are familiar with the Gangster Disciples, I know that Gangster

Disciples are commonly referred to as “GDs” and that Black Disciples are commonly

referred to as “BDs.”

        10.   According to Smashville Member 1, the Smashville GDs control territory

in the vicinity of 83rd Street to 87th Street, and Ashland Avenue to Damen Avenue.2

Smashville GDs have been in deadly conflict with neighboring Killa Ward GDs and

other neighboring gangs that operate and commit violence in the city of Chicago,

including neighboring sets of the Black Disciples. For example, a Chicago Ballistic


2 Smashville Member 1 is a Smashville GD      and their criminal history includes multiple
arrests for “manufacture/deliver cannabis,” armed robbery, firearms violations, and first-
degree murder. Smashville Member 1 has two convictions for dangerous drugs, two
convictions for weapons offenses and one conviction for invasion of privacy.
                                            6

                                                                                Ex. 1 at 7
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Information Alert (“BIA”) firearm report (BIA #2017-164) revealed that a firearm

recovered from a known Smashville member,                          , matched shell casings

recovered from Mike City Black Disciple territory at 8606 S. Morgan Street in

Chicago on or about December 24, 2016.

       11.    According to FBI Confidential Human Source “CHS 1,” “Mike City” is a

faction of the Black Disciples that controls territory and operates in the area of S. 85th

Street to S. 87th Street, and from Carpenter Street to Sangamon Street, on the South

Side of Chicago.3

       B.     Background on victim Stephon Mack

       12.    According to Smashville Member 2, at the time of his death, Mack was

the suspected leader of the Smashville GDs.4

       13.    According to records and information obtained from the docket in United

States v. Stephon Mack, 18 CR 369 (Tharp, J.), in or around December 2019, Mack

was sentenced to 24 months’ imprisonment, followed by a three-year term of

supervised release, for being a felon in possession of a firearm, in violation of 18


3 CHS 1 is an FBI Confidential Human Source with an extensive knowledge of gang activity

on the south side of Chicago. CHS 1 has worked with the FBI for over five years and has been
paid approximately $12,000. CHS 1 has provided accurate and reliable information on
numerous violent acts conducted by gang members on the south side of Chicago that has been
verified by law enforcement and has been used to prosecute individuals in the Northern
District of Illinois. CHS 1 is a former gang member and has one misdemeanor carry/possess
firearm conviction.
4 Smashville Member 2 is a Smashville GD member and their criminal history includes
arrests for possession of a controlled substance, unlawful use of a weapon,
deliver/manufacture/possess with the intent to deliver cocaine, and “murder/intent to
kill/injure.” Smashville Member 2 has convictions for eight weapons offenses and four robbery
convictions.
                                             7

                                                                                   Ex. 1 at 8
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U.S.C. § 922(g)(1). In October 2020, Mack was remanded to federal custody in

connection with an alleged supervised release violation. In December 2020, Mack was

sentenced to 11 months’ imprisonment for the supervised release violation, followed

by one year of supervised release. Mack was released from federal custody on

September 3, 2021.

      14.    According to records and information provided by YPC, Mack was

enrolled as a YPC participant at the time of his death on January 27, 2022. YPC is

located at 420 West 111th Street, Chicago, Illinois. According to its website, YPC is a

“non-for-profit organization offering youth related workshops that mentor teens and

teach youth the skills necessary to avoid conflict and violence.”5

      C. Background on ANTHONY MONTGOMERY

      15.    According to CHS 1, MONTGOMERY is a Mike City Black Disciple from

the south side of Chicago. MONTGOMERY, circled in red on the left below, has been

pictured with recording artist Durk Banks, a/k/a “Lil Durk” (circled in red on the right

below) who, according to CHS 1, is also a Black Disciple from the South Side of

Chicago.




5 See www.youthpeacecenter.com/about (last accessed on March 9, 2023).


                                           8

                                                                              Ex. 1 at 9
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                                                                             Ex. 1 at 10
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                                                                             Ex. 1 at 11
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other groups. According to CHS 1, Risky Road has ties to other sets due to ranking

members of each gang having historical relationships.

       E.      Background on Durk Banks, a/k/a “Lil Durk”

       18.     Durk Banks, a/k/a Lil Durk, is a famous rapper from the South Side of

Chicago. According to CHS 1, conversations with CPD gang officers who are familiar

with the Black Disciples, social media postings, public source research, and a review

of Lil Durk’s lyrics, Lil Durk is a member of the “Lamron” faction of the Black

Disciples. According to CPD records, Lil Durk’s brother, Dontay Banks, Jr., a/k/a

“DThang,” was shot and killed outside of a nightclub in Harvey, Illinois in June 2021.

       19.     CHS 1 has reported that Lil Durk was and still is offering money for

people to kill those responsible for his brother’s murder, and more specifically,

offering to pay money for any Gangster Disciple that is killed.

       20.     CHS 1 has also indicated that DThang was killed by members of Dump

Street. According to CHS 1, Dump Street is a GD faction on the south side of Chicago.

According to CHS 1, Dump Street member Individual A was a close associate of Mack.

According to law enforcement records, Individual A is currently in pretrial custody

for allegedly having committed a double murder that took place in Country Club

Hills, Illinois.




                                          11

                                                                           Ex. 1 at 12
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      F.    Stephon Mack’s Murder

      21.   According to records and information provided by YPC, Mack arrived at

YPC at approximately 12:07 p.m. on January 27, 2022.

      22.   Based on video surveillance footage provided by YPC, at approximately

2:22 p.m.—while Mack was still inside YPC—a 2014 black Chrysler sedan with tinted

windows (the “Chrysler”) carrying the shooters drove into YPC’s parking lot. The

Chrysler was initially parked on the east side of the parking lot, facing YPC. At

approximately 2:25 p.m., the Chrysler moved to the west side of the lot, facing

eastward. The shooters remained in the Chrysler for approximately 40 minutes,

apparently waiting for Mack to leave YPC.




                               YPC video surveillance footage
              depicting the Chrysler (identified by the red box) in the parking lot

      23.   Based on video surveillance footage provided by YPC, Mack exited YPC

and began walking across the parking lot at approximately 2:59 p.m. As he walked

toward his car, two masked individuals emerged from the Chrysler—one from the

driver-side door (“Shooter A”) and the other from the front-passenger-side door

                                              12

                                                                                      Ex. 1 at 13
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                                      #:534
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                                                                             Ex. 1 at 14
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      25.    Based on Ring camera footage obtained from a residence located on the

300 block of West 110th Place, in Chicago, Illinois, after killing Mack, I believe

Shooter A fled eastbound away from YPC. As he did so, the Ring footage captured

Shooter A yelling something to the effect of, “Marley! Yo, come on! Marley!”




                              Ring camera footage depicting
                       Shooter A fleeing from YPC after killing Mack

      26.    According to records and information provided by CPD, a Ruger AR-556

rifle, bearing serial number 858-61994, was recovered in the backyard of a vacant

residence located on the 300 block of West 111th Street, Chicago, Illinois, which is

approximately 0.1 miles east of YPC. FBI is awaiting an analysis from the Illinois

State Police Laboratory to determine whether it was the rifle used to shoot and kill

Mack. According to records and information obtained from the Bureau of Alcohol,

Tobacco, Firearms and Explosives, the Ruger AR-556 rifle was purchased by

Individual B at a federal firearms license located in Atlanta, Georgia, on or about

October 1, 2020.



                                            14

                                                                           Ex. 1 at 15
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      27.       Based on video surveillance footage provided by YPC, information

provided by the Chicago Police Department, and information provided by Victim 1,

shortly after the shooting commenced in YPC’s parking lot, Victim 1, who was YPC’s

security guard, stepped outside into the parking lot and was shot in the left leg by

Shooter B. After shooting Victim 1, Shooter B fled westbound from YPC on foot. The

shooters abandoned the Chrysler in the YPC parking lot.




            YPC video surveillance footage depicting Shooter B firing at Victim 1 (left) and
                           Shooter B fleeing from the scene on foot (right)

      G.        MONTGOMERY is Shooter A

      28.       As discussed in more detail below, I believe that MONTGOMERY is

Shooter A.

      29.       According to records and information provided by CPD, the Chrysler

was reported stolen on or about January 20, 2022.

      30.       According to records and information provided by CPD, during a search

of the abandoned Chrysler after the shooting, law enforcement recovered Subject

Phone 1 in the front-seat area of the car.

                                                  15

                                                                                           Ex. 1 at 16
Case 2:24-cr-00621-MWF    Document 105-1 Filed 12/12/24 Page 18 of 42 Page ID
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                 Photograph of Subject Phone 1 recovered inside the Chrysler

        31.   On or about February 4, 2022, a CPD detective applied for a search

warrant for Subject Phone 1 in the Circuit Court of Cook County. On the same day,

the Circuit Court of Cook County issued a search warrant for Subject Phone 1 in

case number 22SW1903. Based on my conversations with CPD personnel, CPD has

executed the search warrant on Subject Phone 1 but had been unable to get into

Subject Phone 1. FBI has since executed the search warrant on Subject Phone 1

(23 M 315) and is attempting to get into Subject Phone 1.

        32.   According to records and information provided by Apple, the Apple

account linked to IMEI number 352164234252102 (Subject Phone 1) belongs to

MONTGOMERY, with an associated telephone number (773)                      -2969, a primary

email     address    of                           ,    a    secondary      email      address

                      , and an associated residential address of at            W. 81st Street,

Apartment      , Chicago, Illinois.

        33.   On January 5, 2023, FBI received an Illinois State Police, Division of

Forensic Services lab report (DFS22-005439/ Hit #42873). According to the lab report,


                                             16

                                                                                   Ex. 1 at 17
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there is a DNA CODIS match between biological material recovered from Subject

Phone 1 and MONTGOMERY.

      34.    According to records and information provided by CPD, in or around

January 2021, MONTGOMERY identified his home address as                 W. 81st Street,

Apartment     , Chicago, Illinois, in connection with his registration as a gun offender.

According to MONTGOMERY’s Illinois Driver’s license, his address is                   S.

Wolcott Ave., Chicago, 60636.

      35.    According to records and information provided by AT&T, between on or

about December 7, 2021, and on or about February 2, 2022, the phone number

associated with IMEI number 352164234252102 was (773)             -2969, the telephone

number for Subject Phone 1. The listed subscriber for Subject Phone 1 was

Individual C. As set forth in more detail below, on January 27, 2022, at 3:42:38 p.m.

the user of Subject Phone 5 placed a call to Individual C’s phone, (773)          -0404.

Three minutes later, at approximately 3:45 p.m.—approximately 44 minutes after

Mack was murdered—Individual C contacted AT&T using telephone number (773)

   -0404, and reported that Subject Phone 1 had been stolen. Individual C is also

the listed subscriber for (773)    -0404. According to records that law enforcement

reviewed from AT&T, Individual C verified her identity by passcode with an AT&T

representative.

      36.    FBI conducted an analysis of the number of contacts between (773)          -

0404 and Subject Phone 1 and determined that there were approximately 250 calls


                                          17

                                                                              Ex. 1 at 18
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between (773)      -0404 and Subject Phone 1 from December 1, 2021, to January

27, 2022.

      37.    On or about April 26, 2022, law enforcement interviewed Individual C.

During the interview, Individual C identified herself as MONTGOMERY’s girlfriend.

Individual C also verified that her telephone number was (773)         -0404, and had

been her telephone number for years. Individual C related that “A.J.” [a nickname

for MONTGOMERY] is a “criminal” and a “felon.” Individual C related that she

knows that “A.J.” has been convicted of a felony before for “UUWs” [meaning

“unlawful use of a weapon”]. Individual C related that she has never been present

for any of MONTGOMERY’s arrests.

      38.    According to records and information provided by CPD, during a search

of the abandoned Chrysler, law enforcement recovered: (1) a receipt, dated January

21, 2022, from a Jimmy’s Famous Burgers, located at 5042 South Cottage Grove Ave,

Chicago, Illinois; and (2) a receipt, dated January 21, 2022, from a Walgreens, located

at 5035 South Cottage Grove, Chicago, Illinois. Video surveillance footage from

Jimmy’s Famous Burgers reflects that a black female customer was inside the

restaurant at approximately 3:16 p.m. on January 21.




                                          18

                                                                            Ex. 1 at 19
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                                                                             Ex. 1 at 20
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                                      #:541
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                                                                             Ex. 1 at 21
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      42.    Walgreen’s Asset Protection was able to conclude that the unknown

female used the Walgreen’s reward number of “Individual D.”

      43.    A review of a Facebook page that I believe is Individual C’s Facebook

page shows a picture of Individual C and MONTGOMERY.

      H.     POWELL is Shooter B.

      44.    As discussed in more detail below, I believe that PRESTON POWELL is

Shooter B.

      45.    According to records and information provided by CPD, a white plastic

cup, which had the words “Rise & Grind” written on it, was recovered in the front-

seat area of the Chrysler. As depicted in the photo above, the plastic cup was in the

cupholder closest to the front passenger seat of the Chrysler, where Shooter B was

located. According to records and information provided by Illinois State Police Lab

Report DFS22-005439, Latent 9-1-1 and 9-2-2 (referenced above in paragraph 32),

POWELL’s fingerprints were identified on the plastic cup.

      46.    According to CHS 1, POWELL uses the nickname “JB Marley” or

“Marley,” which is the same name Shooter A yelled out minutes after the murder of

Mack as depicted on the Ring camera footage.

      47.    According to records that law enforcement reviewed from AT&T,

Subject Phone 1 received three incoming calls from Subject Phone 3 on January

27, 2022. Based on a telephone analysis conducted by members of law enforcement

and for the reasons set forth below in paragraphs 48 and 50, I believe that Subject


                                         21

                                                                           Ex. 1 at 22
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Phone 3 was used by POWELL on the day of the shooting to call MONTGOMERY

on Subject Phone 1. These three incoming calls to Subject Phone 1 were made at

3:02 p.m., 3:03 p.m. and 3:06 p.m., which was just minutes after Mack was killed.

None of these calls were answered because Subject Phone 1 was left in the Chrysler.

      48.   According to records that law enforcement reviewed from Sprint/T-

Mobile, Subject Phone 3 is registered to Individual E at      E. 104th Street, Unit

     , Chicago, IL, which is the same address that was listed as POWELL’s home

address when POWELL was arrested by CPD on or about May 8, 2021.

      49.   I believe these three calls were made from POWELL to MONTGOMERY

in an attempt to find out where MONTGOMERY was, since both POWELL and

MONTGOMERY fled in separate directions. I believe POWELL was unaware at the

time of the calls that MONTGOMERY had left Subject Phone 1 in the Chrysler.

      50.   According to records that law enforcement reviewed from AT&T,

POWELL activated a new account and was issued cell phone number (312)        -1790

on February 1, 2022, 5 days after the murder of Mack (“Powell Phone 2”). POWELL

used his name and the address of       E. 104th Street, Chicago, IL (without a unit

number) to set up this account with AT&T. The telephone records for Subject Phone

3 do not show a deactivation date for Subject Phone 3. A common call analysis

performed by members of law enforcement analyzing calls made and received from

Subject Phone 3 and Powell Phone 2 shows that Subject Phone 3 and Powell

Phone 2 have two of the same common called contacts.


                                        22

                                                                         Ex. 1 at 23
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      I.     Lil Durk released a new song titled, “Ahhh Ha,” after Mack was
             murdered.

      51.    On or about February 22, 2022, Lil Durk released a song titled, “Ahhh

Ha.” I believe that the lyrics to this song can reasonably be interpreted to be

references to Lil Durk having people killed. For example, in one portion of “Ahhh Ha,”

Lil Durk rapped, “We be sliding through they blocks and they don’t know we have.

Buddy ass got shot and we aint claim it, but I can show his ass.”

      52.    Based on my training and experience and knowledge of this

investigation, I believe that these lyrics can reasonably be interpreted to be a

reference to Mack’s murder. After Mack was murdered, an unknown individual

recorded YPC’s surveillance video of the murder on what appears to have been a

separate video recording device, possibly a cell phone, and distributed the video to

others.

      53.    Additional lyrics from the “Ahhh Ha” song state, “My brother D-Thang

just got killed and I been slow since. But we got back on they ass, I bet they know

this.” I believe that this lyric and the lyric referenced in the paragraph above relate

to Mack’s murder for the reasons stated further below in Sections II(M) and II(N),

describing law enforcement’s review of jail calls and social media posts.




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      J.     MONTGOMERY and POWELL may have exchanged text
             messages concerning payment for Mack’s murder using Subject
             Phone 2.

      54.    On or about February 19, 2022, MONTGOMERY was arrested by the

Illinois State Police after fleeing from a stolen vehicle. According to records I reviewed

from the New Lenox Police Department, MONTGOMERY’s cell phone was

inventoried by the Illinois State Police when MONTGOMERY was arrested. The

phone recovered from MONTGOMERY was an Apple iPhone 12 Pro, with telephone

number (773)      -8272 and IMEI number 353075110378317 (“Subject Phone 2”).

      55.    AT&T records for Subject Phone 2 revealed that this device used cell

phone number (773)          -8272 and was activated on February 2, 2022, under

Individual C’s AT&T account, which was 6 days after Mack was killed.

      56.    On or about March 3, 2022, a detective from the New Lenox Police

Department applied for a search warrant for Subject Phone 2 in the Circuit Court of

Will County. On the same day, the Circuit Court of Will County issued a search

warrant for Subject Phone 2 in case number 21-2919. During the execution of this

search warrant on Subject Phone 2, law enforcement discovered a series of text

messages exchanged between the user of Subject Phone 2 and Powell Phone 2, saved

as a contact in Subject Phone 2 under POWELL’s nickname, “Marley2.” The exchange

of messages that law enforcement discovered reads as follows:

   2/10/2022 at 2:43pm: from Powell Phone 2 to Subject Phone 2: “Wassup
   with otf”

   2/10/2022 at 2:45pm: from Subject Phone 2 to Powell Phone 2: “Nothing”

                                           24

                                                                               Ex. 1 at 25
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   2/10/2022 at 2:46pm: from Powell Phone 2 to Subject Phone 2: “Wym they
   not paying”

   2/10/2022 at 2:46pm: from Subject Phone 2 to Powell Phone 2: “We waiting
   he comes up here on the 17th”

   2/17/2022 at 7:21pm: from Powell Phone 2 to Subject Phone 2: “Stand on
   that why u with Durk nem”

   2/18/2022 at 9:48am: From Powell Phone 2 to Subject Phone 2: “Did durk
   gave u that money”

       57.    This exchange of messages began 14 days after Mack was murdered.

Based on my training and experience and knowledge of this investigation to date, I

believe:

              a.     When the user of Powell Phone 2 asked the user of Subject Phone

2 [what’s up] with “otf’”[?], that the two were discussing Lil Durk and his affiliates.

Based on open-source research and my conversations with CHS 1, I know that Lil

Durk’s record label is named “Only the Family,” commonly referred to as “OTF.”

Based on my review of social media postings and music videos released by members

signed to Lil Durk’s label, including Lil Durk, I know that members of OTF commonly

have tattoos or other paraphernalia displaying “OTF”7:




7 Lil Durk, or someone on behalf of OTF, appears to sell OTF branded merchandise on the

website “otfgear.com.” The website also depicts Lil Durk music videos. See https://otfgear.com
(last accessed March 5, 2023).
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                                                                                  Ex. 1 at 26
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            b.    When the user of Subject Phone 2 and Powell Phone 2 exchanged

the messages “Nothing” and “Wym they not paying,” the user of Subject Phone 2 was
                                      26

                                                                       Ex. 1 at 27
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indicating they had not yet been paid when the user of Subject Phone 2 wrote

“nothing,” prompting the user of Powell Phone 2 to question whether there was an

issue with them being paid for Mack’s murder. When the user of Subject Phone 2

wrote, “We waiting he comes up here on the 17th,” the user of Subject Phone 2 was

indicating that he was waiting for Lil Durk to come into town on February 17th to

pay them for having murdered Mack.

             c.    When the user of Powell Phone 2 wrote, on February 17th, “Stand

on that why u with Durk nem” to the user of Subject Phone 2, the user of Powell

Phone 2 was telling the user of Subject Phone 2 to insist on getting paid when he saw

Lil Durk on February 17th.

             d.    The next day, when the user of Powell Phone 2 wrote, “Did durk

gave u that money” to the user of Subject Phone 2, the user of Powell Phone 2 was

asking the user of Subject Phone 2 if the user of Subject Phone 2 had gotten paid by

Lil Durk for the two having murdered Mack.

      58.    Notably, I reviewed the Facebook page for the user with public display

name “             ” in February of 2022. Based on open source research, I know that

Lil Durk was interviewed on the                                  podcast in February

2022. On February 18, 2022, the user of the Facebook page with display name “

      ” made the following post, claiming to have been in the interview with Lil Durk.

This post appears to be made after the Ahhh Ha video was shot, and in the post, the

user of the Facebook page with display name “                  ” wrote, among other


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According to Employee 1, the participants, Co-Conspirator A and Co-Conspirator B

were former participants at YPC but were kicked out of YPC approximately six

months prior because they were too high risk. Employee 1 stated that Co-Conspirator

A and Co-Conspirator B were brothers and were members of the gang Risky Road,

described above in paragraph 17, which operated in the area of 103rd Street and

Corliss Avenue in Chicago. Employee 1 recalled Co-Conspirator A leaving in an Uber

prior to Mack being murdered, but that Co-Conspirator B was at YPC when Mack

was murdered. According to Employee 1, Co-Conspirator B left immediately after the

shooting, before law enforcement arrived. However, in a later interview, Employee 1

identified Co-Conspirator B in CPD dash cam footage exiting YPC after law

enforcement arrived at the scene. In a separate interview, Employee 2 told law

enforcement that Employee 2 drove Co-Conspirator B and approximately three other

YPC participants home after the shooting. Employee 1 stated to law enforcement that

s/he heard—after Mack was murdered—that there was anywhere from $50,000-

$500,000 being offered for someone to kill Mack. Employee 1 told Law Enforcement

that YPC keeps daily sign in sheets.

      60.   According to YPC’s records, the sign-in sheet for January 27, 2022,

revealed that Co-Conspirator A and Co-Conspirator B arrived at YPC at 10:50 a.m.,

and that Stephon Mack arrived at 12:07 p.m.

      61.   According to YPC’s records, the telephone numbers on file for Co-

Conspirator A were (872)        -0673 (Subject Phone 4) and (312) XXX-1011.


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                                                                         Ex. 1 at 30
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According to YPC’s records, the telephone numbers on file for Co-Conspirator B

between were (872)      -0698 (Co-Conspirator B’s Phone) and (312) XXX-1011 (one of

the phone numbers on file for Co-Conspirator A).

      62.    According to records from T-Mobile, there were approximately seven

phone calls and an attempted call between Subject Phone 3, the phone number used

by POWELL, and Subject Phone 4 on the day of the murder:

             a.      Outgoing call from Subject Phone 3 to Subject Phone 4 at

2:18:53 p.m. This call had a 0:00 second duration.

             b.      Outgoing call from Subject Phone 4 to Subject Phone 3 at

2:18:57 p.m. This call had an 0:08 second duration.

             c.      Outgoing call from Subject Phone 3 to Subject Phone 4 at

2:19:14 p.m. This call had a 0:27 second duration.

             d.      Outgoing call from Subject Phone 3 to Subject Phone 4 at

2:20:20 p.m. This call had a 0:16 second duration.

             e.      Outgoing call from Subject Phone 3 to Subject Phone 4 at

2:22:38 p.m. This call had a 0:52 second duration.

             f.      Outgoing call from Subject Phone 3 to Subject Phone 4 at

2:38:45 p.m. This call had a 0:48 second duration.

             g.      Outgoing call from Subject Phone 4 to Subject Phone 3 at

3:26:48 p.m. This call had a 0:32 second duration.




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                                                                         Ex. 1 at 31
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      63.      As stated above in paragraphs 22 and 23, the Chrysler carrying

MONTGOMERY and POWELL arrived at YPC at approximately 2:22 p.m., and Mack

exited YPC and began walking across the parking lot at approximately 2:59 p.m.

      64.      According to records from T-Mobile, Subject Phone 4 is registered to

Individual F at         S. Emerald Avenue, Chicago, IL.

      65.      Law enforcement interviewed Individual F at her home located at

S. Emerald Avenue in Chicago on or about February 17, 2023. Individual F stated

that she was Co-Conspirator A and Co-Conspirator B’s mother. Individual F also

stated that she picked Co-Conspirator B up from YPC on the day of the murder after

the murder.

      L.       The user of Subject Phone 5 contacted Individual C prior to
               Individual C reporting Subject Phone 1 as stolen.

      66.      According to records from AT&T, on January 27, 2022, at 3:42:38 p.m.,

Individual C’s phone ((773)      -0404) received an incoming call from Subject Phone

5 that lasted until 3:43:00 p.m.

      67.      Thereafter, at 3:43:40 p.m., the user of Individual C’s phone called (866)

675-4225. This call lasted until 3:44:36 p.m.

      68.      The user of Individual C’s phone then called (888) 562-8662 at 3:45:10

p.m. Law enforcement researched this telephone number and determined that it is

the number for what is essentially an insurance affiliate of AT&T. This call ended at

3:45:53 p.m.



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      69.     The user of Individual C’s phone then called (800) 331-0400 at 3:46:15

p.m. Law enforcement researched this telephone number and determined that this

telephone number is affiliated with AT&T. This call ended at 3:56:42 p.m.

      70.     At approximately 3:57:48 p.m., the user of Individual C’s phone then

called Subject Phone 5. The duration of this call was 0 seconds.

      71.     Law enforcement researched the telephone number for Subject Phone

5 and determined that it was registered to Individual G at           S. Yale Avenue,

Chicago, IL 60628. Individual G was approximately 11 years old at the time of the

murder. Law enforcement researched the address and determined that Individual H

also lived at the address. According to a law enforcement database, Individual H was

listed as having lived at the address from February 2020 to the present. Members of

law enforcement continued to research Individual H and Individual G and

determined that Individual G was listed as the victim in a CPD missing person report

in August 2017 with Individual H as the complainant. Individual H’s address in the

report was     W. 103rd Place, Chicago, IL 60628.

      72.     According to a law enforcement database,                   , referenced

above in paragraphs 16 and 58, has also been linked to             S. Yale Avenue in

Chicago and       W. 103rd Place in Chicago. According to the database,

residence was listed as        S. Yale Avenue from April 2022 to April 2022, and as

   W. 103rd Place in Chicago from February 2019 to April 2022.




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      M.     Social Media Posts

      73.    On or about February 20, 2022, I reviewed publicly available postings

on MONTGOMERY’s public Facebook account: facebook.com/MikeCity AJ. Based on

my comparison to pictures of MONTGOMERY as depicted in CPD records and records

from the State of Illinois, I believe that most of the pictures on this Facebook profile

depict MONTGOMERY. On March 2, 2022, MONTGOMERY updated his Facebook

story with a picture of him holding money and the Lil Durk song “Ahhh Ha” playing

in the background. The Facebook story was captured by law enforcement and a

picture of the post is below:




      74.    Based on my experience investigating violent crimes and their links to

social media, I believe MONTGOMERY made the above Facebook post to brag and

take credit for the murder of Mack. I also believe, based on my training and


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                                                                             Ex. 1 at 34
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experience, MONTGOMERY is playing Lil Durk’s music and holding a large amount

of cash to brag about the fact he was paid by Lil Durk to kill Mack.

       N.     Jail Call Review

       75.    Throughout this investigation, law enforcement officers have been

monitoring jail calls of MONTGOMERY and Individual I, an individual that law

enforcement believes is an associate of MONTGOMERY based on, among other

things, Individual I having made 12 phone calls from the Cook County Jail to Subject

Phone 1 from January 1, 2022, through January 25, 2022. MONTGOMERY is

currently in the custody of the Cook County Jail as a result of being arrested after

fleeing from a stolen vehicle, as described above. Individual I is currently in the

custody of the Cook County Jail on unrelated charges. Individual I was in the custody

of the jail at the time of the monitored jail calls.

       76.    On or about April 5, 2022, I received recordings of phone calls that

Individual I made while detained at the Cook County Jail. During a call made by

Individual I from the Cook County Jail to an unknown individual on February 1,

2022, Individual I stated to the unknown individual, in summary, that Individual I

heard Lil Durk said “that’s for DThang.” Individual I then said, “he wolfing like Tay

Town and if that’s for DThang then check in bitch. That shit ain’t free.”

       77.    Based on my experience listening to jail calls as they relate to violent

gangs and violent crimes, I believe Individual I is referring to the Mack homicide in




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this call. Individual I is saying if Mack was killed for DThang, then Lil Durk needs

to pay up because it wasn’t done for free.

      78.    During a call made by Individual I to an unknown individual on January

31, 2022, Individual I stated to the unknown individual, in summary, that they need

to create a song and add “snowman” to it. Individual I went on to state that they

“caught his dumbass in the snow. Now his dumbass stretched.”

      79.    Based on my training and experience and knowledge of this

investigation to date, I believe that Individual I’s comments about a “snowman” and

having caught someone in the snow relate to Mack’s murder. The crime scene photos

from Mack’s murder show that Mack was murdered in the snow with his body in the

supine position. This information was never provided to the public. This jail call is

important because it indicates that Individual I spoke to someone with firsthand

knowledge of the crime scene.

      O.     MONTGOMERY is a Convicted Felon

      80.    Prior to January 27, 2022, MONTGOMERY had been convicted of at

least two felonies and was prohibited from possessing firearms as a result.

Specifically, criminal history records reflect that on September 5, 2018,

MONTGOMERY was convicted of felony aggravated unlawful use of a weapon in the

Circuit Court of Cook County and sentenced to one year imprisonment in case

number 2017 CR 175070. MONTGOMERY was arrested for this offense on or about

November 10, 2017. Criminal history records also reflect that on September 5, 2018,


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MONTGOMERY was convicted of felony aggravated unlawful use of a weapon in the

Circuit Court of Cook County and sentenced to two years’ imprisonment in case

number 2018 CR 0380401. MONTGOMERY was arrested for this offense on or about

February 24, 2018.

      81.    MONTGOMERY’s          criminal     history   records   also   reflect   that

MONTGOMERY was charged with being a felon in possession of a weapon in the

Circuit Court of Cook County on or about August 15, 2019, for which he was convicted

and sentenced to four years’ imprisonment on January 6, 2023, in case number 19 CR

1258201.

      P.     My training and experience regarding historical cell site search
             warrants

      82.    In my training and experience, I have learned that the Service Providers

are companies that provides cellular telephone access to the general public. I also

know that providers of cellular telephone service have technical capabilities that

allow them to collect and generate information about the locations of the cellular

telephones to which they provide service, including cell-site data, also known as

“tower/face information” or “cell tower/sector records.” Cell-site data identifies the

“cell towers” (i.e., antenna towers covering specific geographic areas) that received a

radio signal from the cellular telephone and, in some cases, the “sector” (i.e., faces of

the towers) to which the telephone connected. These towers are often a half-mile or

more apart, even in urban areas, and can be 10 or more miles apart in rural areas.

Furthermore, the tower closest to a wireless device does not necessarily serve every

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                                                                              Ex. 1 at 37
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call made to or from that device. Accordingly, cell-site data provides an approximate

location of the cellular telephone but is typically less precise than other types of

location information, such as E-911 Phase II data or Global Positioning Device

(“GPS”) data.

      83.    Based on my training and experience, I know that the Service Providers

can collect cell-site data about the Subject Phones. I also know that wireless

providers such as the Service Providers typically collect and retain cell-site data

pertaining to cellular phones to which they provide service in their normal course of

business in order to use this information for various business-related purposes.

      84.    Based on my training and experience, I know that wireless providers

such as the Service Providers typically collect and retain information about their

subscribers in their normal course of business. This information can include basic

personal information about the subscriber, such as name and address, and the

method(s) of payment (such as credit card account number) provided by the

subscriber to pay for wireless telephone service. I also know that wireless providers

such as the Service Providers typically collect and retain information about their

subscribers’ use of the wireless service, such as records about calls or other

communications sent or received by a particular phone and other transactional

records, in their normal course of business. In my training and experience, this

information may constitute evidence of the crimes under investigation because the

information can be used to identify the Subject Phones’ user or users, the user or


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                                                                           Ex. 1 at 38
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user’s location at key times relevant for the Subject Offenses, and may assist in the

identification of co-conspirators and/or victims.

      85.    Based on my training and experience and knowledge of the

investigation, I believe that the location of the Subject Phones on the day of the

murder in the hours before and after the murder is probative as: (1) to

MONTGOMERY and POWELL’s use of Subject Phone 1 and Subject Phone 2 to

commit the Subject Offenses” (2) the user of Subject Phone 5’s use of Subject

Phone 5 to cover up MONTGOMERY and POWELL’s role in the Subject Offenses,

and   whether    Co-Conspirator    A   and/or    Co-Conspirator   B   conspired   with

MONTGOMERY and POWELL to commit the Subject Offenses or aided and

abetted MONTGOMERY and POWELL in committing the Subject Offenses.

Therefore, I believe that the location of the Subject Phones on the day of the murder

will lead to evidence of the Subject Offenses.

      86.    As set forth above in paragraphs 59 through 65, both Co-Conspirator A

and Co-Conspirator B were at YPC when Mack arrived, but Co-Conspirator A left

YPC before Mack was murdered. Yet, it was Co-Conspirator A’s phone (Subject

Phone 4) that exchanged several phone contacts with Subject Phone 3 between

2:18 p.m. and 3:26 p.m. The timing is such that the user of Subject Phone 3 (who I

believe is POWELL) began calling Subject Phone 4 four minutes before

MONTGOMERY and POWELL arrived at YPC, and called Subject Phone 4 from

Subject Phone 3 twice while sitting in YPC’s parking lot waiting for Mack to exit


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YPC. The location of Subject Phone 4 when Subject Phone 4 was exchanging

phone calls with Subject Phone 3 before and after the murder is probative as to the

Subject Offenses.

      87.    The location of Subject Phone 3, Subject Phone 4, and Subject

Phone 5 after the murder is probative as to the Subject Offenses as well,

particularly if Subject Phone 3, Subject Phone 4, and Subject Phone 5, were

near each other after the murder. If Subject Phone 3 was near Subject Phone 5

after the murder, that could mean that MONTGOMERY or another co-conspirator or

accessory after the fact used Subject Phone 5 to call Individual C to report Subject

Phone 1 as stolen. If Subject Phone 4 was near Subject Phone 3 or Subject

Phone 5 after the murder, that would also be probative as to Co-Conspirator A and/or

Co-Conspirator B’s role as a co-conspirator or aider and abettor of the Subject

Offenses.

                          AUTHORIZATION REQUEST

      88.    Based on the foregoing, I request that the Court issue the proposed

search warrant, pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal

Procedure 41.

      89.    I further request that the Court direct the Service Providers to disclose

to the government any information described in Section I of Attachment B that is

within its possession, custody, or control. Because the warrant will be served on the

Service Providers, who will then compile the requested records at a time convenient


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